              Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 1 of 11




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 Champion, et al.

                  Plaintiffs,
                                                        Civil Action No. 1:22-cv-02697 (CKK)
          v.

 Does,

                  Defendants.


              PLAINTIFFS’ EX PARTE MOTION FOR EXPEDITED DISCOVERY

                                         INTRODUCTION

         Plaintiffs submit this Motion for Expedited Discovery to uncover the identities of the

Doe Defendants who are liable for the telephone spam that Plaintiffs and class members have

received. Plaintiffs seek to obtain this information from third parties pursuant to Fed. R. Civ. P.

45 by subpoenaing factual information relevant to the identities of the Doe Defendants.

Plaintiffs request an Order from this Court:

         (1)      granting Plaintiffs’ Motion for Expedited Discovery prior to a Rule 26(f)

                  conference;

         (2)      requiring third parties to produce the information and documents responsive to

                  the subpoenas; and

         (3)      providing any other relief the Court deems just and proper.

                                               FACTS

         1.       Plaintiff Joshua Champion (“Champion”) has received at least 2,513 spam text

messages and calls in the last three years in which the spammers have hid their identity.

(Complaint at ¶ 9 [Dkt. 1]).
              Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 2 of 11




        2.        Plaintiff Christina Jones (“Jones”) has received at least 49 spam text messages

and calls in the last four months in which the spammers have hid their identity. Id. at ¶ 10.

        3.        In addition to Champion and Jones, Plaintiffs’ counsel has hundreds of other

clients who have received and reported thousands of spam texts and calls in which the spammers

have hid their identity. These calls and texts have come from many of the same Doe Defendants

that have spammed Champion and Jones. Id. at ¶ 11.

        4.        Plaintiffs and class members have spent thousands of hours trying to uncover the

identities of the Doe Defendants, but so far have been unable to, and will not be able to without

the aid of discovery. Id. at ¶ 12.

        5.        Most the telephone spam that Plaintiffs and class members have received from the

Doe Defendants involves multiple parties, who each may be liable for the spam. Id. at ¶ 39.

        6.        How many parties are involved in the telephone spam—and which parties are

liable for TCPA violations—depends on how the telephone campaign is arranged. Id. at ¶ 48.

        7.        To understand what parties can be involved, it is necessary to understand the

following components of any telephone campaign:



        Always present in a telephone campaign

         i.      Lead Generator – The party who generates leads or phone numbers to call
        ii.      Caller – The party initiating and sending the SMS or calls

       iii.      Seller – The party whose goods or services are being promoted



        Sometimes present in a telephone campaign

        iv.      Marketing Broker/Affiliate Network – A party connecting Sellers with Callers



Id. at ¶ 40.

        8.        If a company wants to promote its services without having to worry about the lead
generation or the calling campaign, the company could hire a Lead Generator and a Caller. The


                                                   2
             Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 3 of 11




Lead Generator will generate phone numbers to be called. The Caller will call the generated

phone numbers and promote the Seller’s services. In this arrangement there are three separate

parties, each respectively acting as the Lead Generator, Caller, and Seller. Id. at ¶ 43.

        9.       A Seller who wants to promote its services at scale can also hire a Marketing

Broker (“Broker”). Brokers go by various names, the most common being “Affiliate Network.”

A Broker will have one or more Callers who promote the Seller’s services in exchange for

performance-based commission. For example, for each sale that a Caller generates, a Seller

might pay $80 to the Caller and $20 to the Broker. Id. at ¶ 44.

        10.      Over 95% of all the SMS spam sent by the Doe Defendants to Plaintiffs and class

members involves two Brokers or more. This happens when a Broker outsources to a second

Broker, who outsources to a third Broker, etc., like this:

               Seller → Broker 1 → Broker 2 → Broker 3 → Caller → Lead Generator

Id. at ¶ 45.

        11.      Sellers and Brokers often exercise control over their Callers or are aware that their

Callers are violating the TCPA. Id. at ¶ 46.

        12.      Callers are usually incorporated companies in which the companies’ founders,

executives, and principals are personally sending, directing, and overseeing the telephone spam.

Id. at ¶ 47.
        13.      When individuals receive spam involving different Brokers and Sellers, it is still

often from the same Caller. For instance, in a previous Doe suit in this district, Champion

uncovered the identity of single spammer (Michael Boehm) who sent spam using 25 different

Brokers. See Joshua Champion v. Does 1-10, 1:22-cv-00323 (D.D.C.). Websites like

OfferVault.com aggregate the information of over 1,000 Affiliate Networks / Brokers, making it

easy for Callers to work with thousands of Brokers and promote the goods and services of tens of

thousands of Sellers. Id. at ¶ 48.

        14.      Multiple data points indicate that the same Doe Defendants who are liable for
spamming Champion and Jones are also liable for spamming Plaintiffs’ counsel’s other clients.


                                                   3
          Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 4 of 11




For example, in Champion’s prior Doe suit in this district, discovery uncovered 14 other clients

who received spam from Michael Boehm. There was an additional 50+ clients who potentially

received spam from Michael Boehm, but discovery was limited to the spam Champion received,

so the spam involving the 50+ other clients is still uncertain. As another example, in the current

Doe suit with Champion and Jones, one of the Brokers involved is Affiliati Network. Plaintiffs’

counsel has 101 other clients who have received 609 spam text messages that involve Affiliati

Network. But counsel needs discovery to determine who is the Caller or is otherwise liable. Id. at

¶ 49.

        15.     Because the Doe Defendants hide their identities, it is impossible to know who

they are and who they have spammed. Id. at ¶ 50.

        16.     The Doe Defendants have used many tactics to hide their identities, including

purposefully not telling who they are, using fake names, creating anonymous web pages,

registering their U.S. companies overseas, providing invalid call back numbers so they cannot be

reached, not answering when someone returns missed calls, immediately hanging up if you ask

what business they are with, and more. Id. at ¶ 51.

        17.      Plaintiffs have already identified phone carriers, domain registrars, Sellers,

Brokers, and others who have discoverable information related to the identities of the Callers and

others who may be liable. Subpoenas to these parties should reveal the identities of the Callers
initiating the calls and texts, as well as the identities of those who may be individually or

vicariously liable. Id. at ¶ 52.

        18.     When Callers send text messages, they usually include URL hyperlinks in the text

messages. Sellers, Callers, and Brokers track their marketing efforts by using data in these URLs.

For example, in the URL example.com?S1=2337&S2=5215&S3=632 there are three parameters:

S1=2337, S2=5215, and S3=632. These parameters may identify the Seller, the Brokers, the

Caller, the product being sold, or some other relevant data. While there is no uniform naming

convention, parties keep very meticulous records of the values in the URLs. Subpoenas about the




                                                  4
         Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 5 of 11




URLs involved in the text messages to Plaintiffs and class members will reveal what the

parameters represent and who the responsible parties are behind the telephone spam.

       19.       Plaintiffs’ counsel has extensive experience uncovering the identities of unknown

spammers through forensics and subpoenas.

       20.       Plaintiffs’ counsel is a boutique law firm whose sole practice is representing

clients who have received unwanted telephone spam.

       21.       Plaintiffs’ counsel has an entire in-house investigative division whose only

responsibility is tracking down and identifying telephone spammers. The in-house investigators

have training and experience from the U.S. military in open source intelligence.

       22.       The lead investigator for Plaintiffs’ counsel is a retired US Army

Counterintelligence Special Agent with a degree in Intelligence Studies from American Military

University. He has over 20 years of experience in Intelligence operations tracking down spies

and members of International Terrorist Organizations and their financial and operational

networks.

       23.       Here are just three examples of lawsuits that illustrate Plaintiffs’ counsel

experience and expertise uncovering unknown spammers.

            i.   In a previous Doe suit in this district, Champion uncovered the identity of

                 Michael Boehm through subpoenas to phone carriers, domain registrars, and
                 brokers. See Joshua Champion v. Does 1-10, 1:22-cv-00323 (D.D.C.). The

                 subpoena responses also revealed that 14 other clients of Plaintiffs’ legal counsel

                 received spam from Michael Boehm. Id. The case was transferred to the Central

                 District of California, and the other 14 plaintiffs were added to the suit. Id.

         ii.     In a previous Doe suit in the District of Utah, Plaintiffs’ counsel uncovered the

                 identity of a prolific spammer through subpoenas to third parties. See Kenney v.

                 Does 1 – 20, 2:19-cv-00882 (D. Utah). The spammer identified was Christopher

                 Kay and his business entity Blue Global, LLC. Mr. Kay is a bad actor, having
                 previously been sued by the Federal Trade Commission (“FTC”) just two years


                                                    5
          Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 6 of 11




               prior for stealing people’s personal information; Kay agreed to a $104,470,817

               suspended monetary judgment with the FTC. See Federal Trade Commission v.

               Blue Global, LLC and Christopher Kay, 2:17-cv-02117, Dkt 4 (D. Ariz.).

        iii.   In 2019 security researchers uncovered a spam operation called APEXSMS that

               had sent over 80 million spam text messages without consent to Americans

               nationwide. See SMS Spammers Doxxed (last accessed August 30, 2022). After

               this article exposed APEXSMS, the spammers changed their name, went

               underground even more, and continued to spam. Nobody knew who was

               responsible for this operation. After more than a year of forensic research,

               Plaintiffs’ counsel uncovered that Champion, and other clients of Plaintiffs’

               counsel, had received spam from APEXSMS. Last month, Champion and another

               client filed suit against the principals of APEXSMS. See Champion, et al. v. Sethi,

               et al., 2:22-cv-01355 (D. Ariz.). This lawsuit is the first time the principals of

               APEXSMS have ever been sued and held accountable for sending millions of

               spam text messages without consent. They have evaded liability so far because

               they have gone to great lengths to hide their identity.

       24.     The plague of telephone spam needs to be stopped. It can be stopped. But the

parties responsible for the spam must first be identified.
       25.     Plaintiffs have identified the following phone carriers, domain registrars,

Sellers, and Brokers with discoverable information that will lead to the identification of the

Doe Defendants.



                                  Subpoenas To Phone Carriers

       26.     The Doe Defendants initiated the calls and texts using phone carriers. These

phone carriers have information about who their customer was who initiated the calls or texts.

The information from the phone carriers will assist Plaintiffs in identifying Defendants.
       27.     The Phone Carriers likely to have information include, but are not limited to:


                                                  6
           Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 7 of 11




                   •     Inteliquent

                   •     Twilio

                   •     Bandwidth

                   •     Peerless Network

                   •     Commio

                   •     Telnyx

                   •     Level 3

                   •     CoreTel Communications



                 Subpoenas To Domain Registrars and Domain-Related Parties

       28.      The text messages to Plaintiffs contained URLs and domains.

       29.      An example of a domain is google.com.

       30.      Most the URLs in the text messages, when clicked, redirected to other domains

and websites.

       31.      Domain Registrars have information about who registered these domains which

would assist Plaintiff in identifying the Doe Defendants.

       32.      Additionally, there are other Domain-Related Parties who provide DNS hosting,

server hosting, email hosting and other IT services for these domains and websites. These
Domain-Related Parties have information which would assist Plaintiffs in identifying the Doe

Defendants.

       33.      The Domain Registrars and Domain-Related Parties likely to have information

include, but are not limited to:

       •        NameCheap

       •        CloudFlare

       •        Name.com

       •        Google
       •        GoDaddy


                                                7
           Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 8 of 11




       •       Tucows

       •       Above.com

       •       Amazon

       •       MarkMonitor

       •       NameSilo

       •       Internet Domain Service

       •       1&1 IONOS



                                Subpoenas to Sellers and Brokers

       34.     Many of the Doe Defendants initiated calls and texts on behalf of Sellers or

Brokers. These Sellers and Brokers have information about other Brokers who may have been

involved, and who the Caller was who initiated the calls or texts. These Sellers and Brokers

will also have information regarding what control was exercised over their Callers and whether

they had prior knowledge of a Caller’s spam. The information from the Sellers and Brokers

will assist Plaintiffs in identifying the Doe Defendants.

       35.     The Sellers and Brokers likely to have information include, but are not limited

to:

       •       Addicted Affiliate
       •       AdMediary

       •       Affiliati Network

       •       Aragon Advertising

       •       BuyGood.

       •       Cannaball

       •       Diablo Media

       •       Digital Media Solutions

       •       EverQuote.
       •       Giraffe Media Group


                                                 8
           Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 9 of 11




       •       Guru Media

       •       IceNetworks

       •       Jakob Group Marketing

       •       LeadVision Media

       •       Mint Global Marketing

       •       Next Click Partners

       •       Perform[cb]

       •       QuoteLab

       •       RainMaker Network

       •       RewardZone USA

       •       Skyrocket Media

       •       What If Media Group

       •       Xanadu Marketing



                                  Subpoenas to Other Parties

       36.     The responses to Plaintiffs’ subpoenas may reveal additional parties who have

information which would assist Plaintiff in identifying Defendants, such as UPS Stores,

landlords, email providers, and others.
                          LEGAL STANDARD & ARGUMENT

       Under Fed. R. Civ. P. 26(d)(1), the Court has the power to order that a party may seek

discovery before the discovery planning conference. Fed. R. Civ. P. 26(d)(1), (f). Upon a

“showing of good cause,” discovery has been allowed from internet service providers regarding

John Doe defendants. Arista Records, LLC v. Does 1-19, 551 F. Supp.2d 1, (D.D.C. 2008). See,

also, Crazy ATV, Inc. v. Probst, No. 1:13-cv-00114-RJS-DBP, 2014 U.S. Dist. LEXIS 6414, at

**3–4 (D. Utah Jan. 16, 2014) (citing Arista Records LLC v. Does, No. 2:07 cv 0971 TS, 2008

U.S. Dist. LEXIS 2393, at *3 (D. Utah Jan. 11, 2008) (describing that case as “allowing limited
discovery on third party Internet Service Providers to ascertain identities of unknown


                                                9
         Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 10 of 11




defendants”). Good cause can be shown “where physical evidence may be consumed or

destroyed with the passage of time, thereby disadvantaging one or more parties . . . .” Qwest

Commc'ns Int'l, Inc. v. WorldQuest Networks, Inc., 213 F.R.D. 418, 419 (D. Colo. 2003).”

       Other courts have granted early discovery when there was no other way for the case to

move forward. See, e.g., Sunlust Pictures, LLC v. Cisa, 2012 WL 5187837, at *6 (D.Colo. 2012)

(finding that “good cause existed to permit early discovery because Plaintiff would be unable to

identify Defendant’s and his ‘joint tortfeasors’’ identities without the benefit of formal discovery

mechanisms”); Disc. Video Ctr., Inc. v. Doe, 285 F.R.D. 161, 163 (D. Mass. 2012) (finding

“good cause for expedited discovery because the Plaintiff has no other means of determining the

identity of its defendants”). Moreover, “courts typically resist dismissing suits against John Doe

defendants until the plaintiff has had some opportunity for discovery to learn the identities of”

the defendants. Coward v. Town & Vill. of Harrison, 665 F. Supp. 2d 281, 300 (S.D.N.Y. 2009)

(internal quotations and citations omitted). The D.C. Circuit of Appeals has endorsed the view

that expedited discovery is allowed in order to identify unknown, or so-called, “John Doe”

defendants, stating:


       It is “well established that plaintiffs are permitted to proceed against John Doe
       defendants so long as discovery can be expected to uncover the defendant[s’]
       identity.” Id. (citing Newdow v. Roberts, 603 F.3d 1002, 1010–11 (D.C. Cir.
       2010)). For this reason, plaintiffs in analogous proceedings have been permitted to
       proceed with limited expedited discovery prior to the parties’ discovery planning
       conference required under Federal Rule of Civil Procedure 26(f).
Goodwin v District of Columbia, 2021 WL 1978795 at 4 (D.C. Cir. 2021).

       In this case, good cause exists because, without discovery regarding Defendants’

identities, Plaintiffs and class members will be barred from executing essential procedural

actions, for instance, effecting service of process. As such, Plaintiffs and class members will be

prejudiced and unable to pursue their claims.




                                                 10
        Case 1:22-cv-02697-CKK Document 3 Filed 09/12/22 Page 11 of 11




                                      CONCLUSION

       WHEREFORE, Plaintiffs respectfully request the Court to enter an Order that:

       (1)     grants Plaintiffs’ Motion for Expedited Discovery prior to a Rule 26(f)

conference;

       (2)     requires third parties to provide the information and documents responsive to

Plaintiffs’ subpoenas; and

       (3)     provides any other relief the Court deems just and proper.



Dated: September 12, 2022                                   Respectfully Submitted

                                                            /s/ James Wertheim
                                                            James Wertheim
                                                            Bar No. OH0055
                                                            LawHQ, P.C.
                                                            299 S. Main St. #1300
                                                            Salt Lake City, UT 84111
                                                            385-285-1090 ext. 30049
                                                            jim@lawhq.com

                                                            Attorney for Plaintiffs




                                               11
